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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 10/20/2020
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19-CV-9578 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
WILLIAM DOONAN and WILLIAM DOONAN AND :                                      REASSIGNMENT
ASSOCIATES, INC., doing business as WILLIAM :
DOONAN, ESQ.,                                                          :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The Court’s Notice of Reassignment Order set a Pretrial Conference on December 21, 2020,

at 10 a.m. (Dkt. 55). In light of this order, the previously scheduled Case Management Conference

for October 26, 2020, at 11:20 a.m. (Dkt. 48) is hereby adjourned sine die.

        The Clerk of the Court is respectfully directed to mail a copy of this Order to pro se

Defendant William Doonan.

        SO ORDERED.

Dated: October 20, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
